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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF FLORIDA
                              PENSACOLA DIVISION

UNITED STATES OF AMERICA

       VS                                                          CASE NO. 3:07cr57/MCR

CLAYTON EDWARD FITZGERALD

                                 REFERRAL AND ORDER

Referred to Judge M. Casey Rodgers on June 11, 2007
Motion/Pleadings: MOTION IN LIMINE RE ADMISSION AND/OR STATEMENT
Filed by Defendant                       on 6/01/2007    Doc.# 132
RESPONSES:
                                         on              Doc.#
                                         on              Doc.#
        Stipulated           Joint Pldg.
        Unopposed            Consented
                                         WILLIAM M. McCOOL, CLERK OF COURT

                                               s/ Susan Simms
LC (1 OR 2)                                    Deputy Clerk

                                            ORDER
       Upon consideration of the foregoing, it is ORDERED this 11th day of June,
2007, that:
       The relief requested is DENIED as moot.




                                                 s/   M. Casey Rodgers
                                                             M. CASEY RODGERS
                                                       United States District Judge




Entered On Docket:                    By:
Rules 58 & 79(a) FRCP or 32(d)(1) & 55 FRCRP
Copies sent to:




                               Document No.
